Case 4:07-cv-05944-JST Document 1858-2 Filed 08/22/13 Page 1 of 3

Hon. Charles A. Legge (Ret.)

JAMS

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Special Master

JAMS
In re: CATHODE RAY TUBE (CRT) Case No. 07-5944 SC
ANTITRUST LITIGATION MDL No. 1917

This Document Relates to:

ALL ACTIONS

JAMS Reference No. 1100054618

[PROPOSED] REVISED
SCHEDULING ORDER

January 21, 2014

April 22, 2014

July 22, 2014

September 5, 2014

October 3, 2014

Last day for Directs, Indirects, State Attorneys General, and Direct
Action Plaintiffs to serve opening expert reports on the merits; last
day for Defendants to serve opening expert reports on affirmative
defenses

Last day for Defendants to serve opposition expert reports on the
merits; last day for Directs, Indirects, State Attorneys General and
Direct Action Plaintiffs to serve opposition expert reports on
affirmative defenses

Last day for Directs, Indirects, State Attorneys General, and Direct
Action Plaintiffs to serve rebuttal expert reports on the merits; last
day for Defendants to serve rebuttal expert reports on affirmative
defenses

Close of fact and expert discovery

Last day to file dispositive motions

[PROPOSED] REVISED SCHEDULING ORDER

Case No. 07-5944 SC
MDL NO. 1917

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Case 4:07-cv-05944-JST Document 1858-2 Filed 08/22/13 Page 2 of 3

November 21, 2014
December 19, 2014

January 16, 2015

January 20, 2015
January 20, 2015

January 23, 2015*

January 30, 2015
February 6, 2015

February 6, 2015

February 13, 2015
February 20, 2015
February 27, 2015
February 27, 2015

March 9, 2015!

Last day to file oppositions to dispositive motions

Last day to file replies in support of dispositive motions

Hearing on dispositive motions; the last day for actions filed outside
of N.D. Cal. to be returned to courts in which they were originally
filed will be 5 days after the Court rules on dispositive motions
Mediation

Last day for settlement conference

Last day for filing motions in limine and other non-dispositive pre-
trial motions

Last day to meet and confer re pre-trial order
Parties must exchange proposed exhibits and witness lists

Last day for filing pre-trial order, agreed set of jury instructions and
verdict forms

Last day for filing oppositions to motions in limine

Last day for filing replies in support of motions in limine
Hearing on motions in limine

Final pre-trial conference

Trial(s)

*All deadlines from January 23, 2015 onward do not apply to those actions that were filed outside

of the N.D. Cal. and, following the Court’s rulings on dispositive motions, they will be returned to

the courts in which they were originally filed.

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" The dates above apply to the action of the California Attorney General only insofar as the close of fact
and expert discovery on Defendants, the date of expert reports, and mediation are concerned.

2

[PROPOSED] REVISED SCHEDULING ORDER

Case No. 07-5944 SC
MDL NO. 1917

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Case 4:07-cv-05944-JST Document 1858-2 Filed 08/22/13 Page 3 of 3

RECOMMENDATION THE OF SPECIAL MASTER

The Special Master recommends that this proposed modification be considered by the
Court at the status conference scheduled by Your Honor for September 13, 2013. The fact that
this modification is agreed to by such a large number of parties is highly significant, and
emphasizes the scope of the necessary pre-trial procedures. However, the deadline for final
disposition of these cases has been frequently postponed, and would now be moved into 2015, 19
months from now. The Special Master suggests that Your Honor consider management devices
other than just postponements. For example: bifurcation by moving the older groups of cases

(the DPP and IPP cases) ahead of the others onto a faster track for both pre-trial procedures and

trial.

IT IS SO RECOMMENDED.

DATED: A tog rt a2, LOC? 2B» Lape
0 Hon. Charles A. Legge

Special Master

IT IS SO ORDERED UPON THE RECOMMENDATION OF THE SPECIAL MASTER.

DATED:

Hon. Samuel Conti
United States District Judge

3

[PROPOSED] REVISED SCHEDULING ORDER Case No. 07-5944 SC
MDL NO. 1917

